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15
16
                   UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
17
18       SAMUEL S. LIERA,                                        Case No: ________________
19
                                 Plaintiff,                      Complaint For Damages
20       v.
21                                                               Jury Trial Demanded
         US BANK (N.A.), AND EQUIFAX
22       INFORMATION SERVICES, LLC,
23
                                 Defendants.
24
25
26
27
28

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 1                                              INTRODUCTION
 2     1.    The California legislature has determined that the banking and credit system
 3           and grantors of credit to consumers are dependent upon the collection of just
 4           and owing debts and that unfair or deceptive collection practices undermine
 5           the public confidence that is essential to the continued functioning of the
 6           banking and credit system and sound extensions of credit to consumers. The
 7           Legislature has further determined that there is a need to ensure that debt
 8           collectors exercise this responsibility with fairness, honesty and due regard
 9           for the debtor’s rights and that debt collectors must be prohibited from
10           engaging in unfair or deceptive acts or practices.
11     2.    Further, United States Congress has found abundant evidence that the banking
12           system is dependent upon fair and accurate credit reporting. Inaccurate credit
13           reports directly impair the efficiency of the banking system, and unfair credit
14           reporting methods undermine the public confidence which is essential to the
15           continued functioning of the banking system. An elaborate mechanism has
16           been developed for investigating and evaluating the credit worthiness, credit
17           standing, credit capacity, character, and general reputation of consumers.
18           Consumer reporting agencies have assumed a vital role in assembling and
19           evaluating consumer credit and other information on consumers. There is a
20           need to insure that consumer reporting agencies exercise their grave
21           responsibilities with fairness, impartiality, and a respect for the consumer’s
22           right to privacy. Congress wrote the Fair Credit Reporting Act (“FCRA”), 15
23           U.S.C. § 1681 et seq., to require that consumer reporting agencies adopt
24           reasonable procedures for meeting the needs of commerce for consumer
25           credit, personnel, insurance, and other information in a manner which is fair
26           and equitable to the consumer, with regard to the confidentiality, accuracy,
27           relevancy, and proper utilization of such information.
28     ///

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 1     3.    In addition, the California Legislature has found that the banking system is
 2           dependent upon fair and accurate credit reporting. As such, California enacted
 3           the California Consumer Credit Reporting Agencies Act, Cal. Civ. Code §
 4           1785.1 et seq. (“CCCRAA”) to insure fairness, impartiality, and protect
 5           consumer privacy. The CCCRAA also imposes duties on the sources that
 6           provide credit information to credit reporting agencies, called “furnishers.”
 7     4.    Samuel S. Liera, (“Plaintiff”), through Plaintiff's attorneys, brings this action
 8           to challenge the actions of US Bank (N.A) and Equifax Information Services,
 9           LLC. (“Defendants”), with regard to attempts by Defendants to unlawfully
10           and abusively collect a debt allegedly owed by Plaintiff, and this conduct
11           caused Plaintiff damages.
12     5.    Plaintiff makes these allegations on information and belief, with the exception
13           of those allegations that pertain to a plaintiff, which Plaintiff alleges on
14           personal knowledge.
15     6.    While many violations are described below with specificity, this Complaint
16           alleges violations of the statutes cited in their entirety.
17     7.    Unless otherwise stated, all the conduct engaged in by Defendants took place
18           in California.
19     8.    Any violations by Defendants were knowing, willful, and intentional, and
20           Defendants did not maintain procedures reasonably adapted to avoid any such
21           specific violation.
22                                       JURISDICTION AND VENUE
23     9.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C.
24           §1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
25     10.   This action arises out of Defendants' violations of the i) the Rosenthal Fair
26           Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
27           (“Rosenthal Act”); ii) California’s identity theft statutes, California Civil
28           Code §§ 1798.92-1798.97; iii) the California Consumer Credit Reporting

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 1           Agencies Act (“CCCRAA”), California Civil Code § 1785 et seq.; and iv) the
 2           Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (“FCRA”).
 3     11.   Plaintiff is a resident of Fullerton, Orange County, California.
 4     12.   Each of the Defendants regularly operate within Orange County offering their
 5           services and/or reaching out to alleged debtors to collect on alleged debts.
 6     13.   Defendant US Bank (N.A.) (“US Bank”) regularly offers services and
 7           maintains physical storefronts in Orange County, and reports on Orange
 8           County resident’s credit reports.
 9     14.   Defendant Equifax Information Services, LLC (“Equifax”) prepares
10           consumer credit reports and provides them to residents of Orange County.
11     15.   Defendant US Bank was notified by Plaintiff that the alleged debts were the
12           result of identity theft and not owed by Plaintiff.
13     16.   However, Defendant US Bank continues to attempt to collect these alleged
14           debts not owed by Plaintiff from Plaintiff in Orange County.
15     17.   These services and collection efforts towards Plaintiff by Defendants in
16           Orange County are the actions that give rise to the claim alleged and therefore
17           venue is proper under California State law.
18     18.   At all times relevant, Defendants conducted business within the State of
19           California.
20     19.   Because Defendants do business within the State of California, personal
21           jurisdiction is established.
22                                                   PARTIES
23     20.   Plaintiff is a natural person who resides in the City of Fullerton, State of
24           California.
25     21.   Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1681a(c).
26     22.   Plaintiff is a natural person from whom a debt collector sought to collect a
27           consumer debt which was due and owing or alleged to be due and owing from
28

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 1           Plaintiff, and is a debtor as that term is defined by California Civil Code §
 2           1788.2(h).
 3     23.   Defendant US Bank is located in the City of St. Paul, in the State of
 4           Minnesota.
 5     24.   Defendant US Bank, in the ordinary course of business, regularly, on behalf
 6           of themselves, or others, engage in debt collection as that term is defined by
 7           California Civil Code § 1788.2(b), are therefore debt collectors as that term is
 8           defined by California Civil Code § 1788.2(c).
 9     25.   Defendant US Bank is a furnisher of information as contemplated by FCRA
10           sections 1681s-2(a) & (b), that regularly and in the ordinary course of
11           business furnish information to one or more consumer reporting agencies
12           about consumer transactions or experiences with any consumer.
13     26.   Defendant US Bank is a partnership, corporation, association, or other entity,
14           and is therefore a “person” as that term is defined by Cal. Civ. Code §
15           1785.3(j).
16     27.   Defendant Equifax, Inc. (“Equifax”) is located in the City of Atlanta, Fulton
17           County, State of Georgia, and regularly does business in California.
18     28.   Defendant Equifax is a partnership, corporation, association, or other entity,
19           and is therefore a “person” as that term is defined by Cal. Civ. Code §
20           1785.3(j).
21     29.   Defendant Equifax is a “consumer reporting agency,” as codified at 15 U.S.C.
22           § 1681a(e).
23     30.   This case involves money, property or their equivalent, due or owing or
24           alleged to be due or owing from a natural person by reason of a consumer
25           credit transaction. As such, this action arises out of a consumer debt and
26           “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
27     31.   The causes of action herein also pertain to Plaintiff’s “consumer credit report”
28           as that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate

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 1           representations of Plaintiff’s credit worthiness, credit standing, and credit
 2           capacity were made via written, oral, or other communication of information
 3           by a consumer credit reporting agency, which is used or is expected to be
 4           used, or collected in whole or in part, for the purposes of serving as a factor in
 5           establishing Plaintiff’s eligibility for, among other things, credit to be used
 6           primarily for personal, family, household and employment purposes.
 7                                         FACTUAL ALLEGATIONS
 8     32.   Sometime before September 2015, Daniel Barrera willfully obtained
 9           Plaintiff’s personal identifying information, and used information, such as
10           Plaintiff’s name, social security number, and address, to fraudulently take out
11           multiple loans and open lines of credit and credit cards with US Bank, and
12           other entities.
13     33.   Daniel Barrera was a US Bank employee at the time that he fraudulently
14           obtained all of these loans, lines of credit, and credit cards in Plaintiff’s name.
15     34.   As a result of this identity theft, Plaintiff is alleged to have incurred certain
16           financial obligations to US Bank for these loans and various other forms of
17           credit.
18     35.   These alleged financial obligations include:
19
              1.    US Bank Loan, Account Number Ending in 2658.
20
              2.    US Bank Quick Loan, Account number Ending in 8284.
21            3.    US Bank Credit Card, Account Number Ending in 5258
              4.    US Bank Credit Card, Account Number Ending in 0359
22
              5.    US Bank Credit Card, Account Number Ending in 0949
23            6.    US Bank Reserve Line, Account Number Ending in 6967
              7.    US Bank Reserve Line, Account Number Ending in 3978
24
              8.    US Bank Reserve line, Account number Ending in 6876
25            9.    US Bank Checking Account, Account number Ending in 6876
              10.   US Bank Checking Account, Account number Ending in 6967.
26
27
       36.   These alleged obligations were money, property, or their equivalent, which is
28
             due or owing, or alleged to be due or owing, from a natural person to another

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 1           person and are therefore a “debt” as that term is defined by California Civil
 2           Code §1788.2(d), and a “consumer debt” as that term is defined by California
 3           Civil Code §1788.2(f).
 4     37.   Sometime thereafter, but before May of 2016, Plaintiff allegedly fell behind in
 5           the payments allegedly owed on these alleged debts.
 6     38.   Sometime before may 12, 2016, Plaintiff was made aware of these fraudulent
 7           accounts.
 8                 DEFENDANT US BANK’S VIOLATIONS OF THE ROSENTHAL ACT
 9     39.   After becoming aware of these fraudulent accounts, Plaintiff quickly
10           discovered that former US Bank employee, Daniel Barrera, had fraudulently
11           obtained multiple loans and lines of credit in Plaintiff’s name.
12     40.   On or about May 14, 2016, Plaintiff appeared personally at US Bank’s Santa
13           Ana Branch to inquire about a loan obtained in his name.
14     41.   On or about May 14, 2016, Plaintiff discovered multiple US Bank loans,
15           reserve lines, and credit cards had been fraudulently opened in his name,
16           including:
17
              1.    US Bank Loan, Account Number Ending in 2658.
18
              2.    US Bank Quick Loan, Account number Ending in 8284.
19            3.    US Bank Credit Card, Account Number Ending in 5258
              4.    US Bank Credit Card, Account Number Ending in 0359
20
              5.    US Bank Reserve Line, Account Number Ending in 6967
21            6.    US Bank Reserve Line, Account Number Ending in 3978
              7.    US Bank Reserve line, Account number Ending in 6876
22
23
       42.   The accounts listed in Paragraph 41 above shall be hereinafter collectively
24
             referred to as the “US Bank Fraud Accounts.”
25
       ///
26
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27
       ///
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 1     43.   Further, on or about May 14, 2016, while at Defendant US Bank’s Santa Ana
 2           branch, Plaintiff discovered that some of his preexisting checking accounts
 3           and a credit card, had been fraudulently tampered with, including:
 4
              1.    US Bank Checking Account, Account number Ending in 6876
 5
              2.    US Bank Checking Account, Account number Ending in 6967
 6            3.    US Bank Credit Card, Account Number Ending in 0949
 7
       44.   The accounts listed in paragraphs 41 and 43 shall be hereinafter collectively
 8
             referred to as the “US Bank Accounts.”
 9
       45.   On or about May 14, 2016, while at US Bank’s Santa Ana branch, Plaintiff
10
             told Defendant US Bank that none of the US Bank Fraud Accounts belonged
11
             to him, and that the other three accounts listed in paragraph 44 had been
12
             tampered with by US Bank Employee Daniel Barrera.
13
       46.   Plaintiff vehemently maintains he never opened any of the Fraudulent US
14
             Bank Accounts.
15
       47.   On May 27, 2016, Plaintiff filed the a Police Report.
16
       48.   On June 22, 2016, Plaintiff sent Defendant US Bank a letter that explained
17
             that all of these US Bank Fraud Account debts were the result of fraud and
18
             identity theft, via certified US Mail.
19
       49.   This June 22, 2016 letter included a copy of the Police Report.
20
       50.   On or about July 26, 2016, attorney David Calderon, sent a letter on behalf of
21
             Plaintiff to Defendant US Bank’s Fraud Service Center (the “July 26 Letter”).
22
       51.   This July 26 Letter stated that the US Bank Accounts did not belong to
23
             Plaintiff or were not his obligation and are disputed, requested Defendant US
24
             Bank cease all collection efforts, and directed Defendant US Bank to contact
25
             Mr. Calderon directly if Defendant US Bank wished to discuss the matter
26
             further.
27
       ///
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 1     52.   Despite the July 26 Letter, notifying Defendant US Bank of Plaintiff’s
 2           representation by Mr. Calderon, Defendant US Bank continued to call
 3           Plaintiff directly a total of 232 times between July 27, 2016 and January 20,
 4           2017, in an attempt to collect the alleged US Bank Account debts.
 5     53.   During many of these phone calls Plaintiff requested Defendant US Bank
 6           stop contacting him and restated that the US Bank Fraud Accounts did not
 7           belong to him.
 8     54.   These 232 telephone calls were “communication[s]” as defined by 15 U.S.C.
 9           § 1692a(2) because they conveyed information regarding a debt directly to a
10           person, the Plaintiff.
11     55.   These 232 telephone calls were “debt collection[s]” as that phrase is defined
12           by Cal. Civ. Code § 1788.2(b).
13     56.   Through this conduct, Defendant US Bank initiated communications, other
14           than statements of account, with the debtor 232 separate times with regard to
15           the consumer debt, when the debt collector, Defendant US Bank, had been
16           previously notified in writing by the debtor’s attorney that the debtor is
17           represented by such attorney with respect to the consumer debt and such
18           notice included the attorney’s name and address. Consequently, Defendant US
19           Bank violated Cal. Civ. Code § 1788.14(c).
20     57.   Through this conduct, without the prior consent of the Plaintiff-consumer
21           given directly to Defendant US Bank or the express permission of a court of
22           competent jurisdiction, Defendant US Bank communicated with the consumer
23           232 separate times in connection with the collection of a debt when
24           Defendant US Bank knew the consumer was represented by an attorney with
25           respect to such debt and had knowledge of, or could have readily ascertained
26           such attorney’s name and address. Consequently, Defendant US Bank violated
27           15 U.S.C. § 1692c(a)(2).
28     ///

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 1   58.   Through this conduct, Defendant US Bank violated 15 U.S.C. § 1692d(5) by
 2         causing Plaintiff’s telephone to ring and engaged Plaintiff in telephone
 3         conversation repeatedly and continuously with the intent to annoy, abuse, and
 4         harass the Plaintiff by calling Plaintiff repeatedly 232 times over a span of six
 5         months.
 6   59.   Because this violated certain portions of the federal Fair Debt Collection
 7         Practices Act as these portions are incorporated by reference in the Rosenthal
 8         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
 9         this conduct or omission violated Cal. Civ. Code § 1788.17.
10     DEFENDANT US BANK’S VIOLATIONS OF THE CALIFORNIA IDENTITY THEFT
11                         STATUTES, CAL. CIV. CODE § 1798.92 ET SEQ.
12   60.   Sometime during August 2016, Plaintiff sent a complete Identity Theft
13         Victim’s Complaint and Affidavit (“Fraud Affidavit”), to Defendant US
14         Bank’s Fraud Services Department.
15   61.   Shortly thereafter, on August 15, 2016, Plaintiff received a call from
16         “Shaqueta,” a fraud analyst in Defendant US Bank’s Fraud Prevention
17         department, acknowledging receipt of the Fraud Affidavit and requesting a
18         second form of identification.
19   62.   Per Defendant US Bank’s instructions, Plaintiff faxed over a copy of a second
20         form of identification to Defendant US Bank.
21   63.   Thereafter, sometime in September of 2016, Plaintiff personally delivered the
22         Fraud Affidavit to Defendant US Bank’s Santa Ana branch.
23   64.   During this September 2016 visit to Defendant U.S. Bank’s Santa Ana branch,
24         Defendant US Bank physically, knowingly and voluntary took possession of
25         Plaintiff’s Fraud Affidavit and told Plaintiff that the Fraud Affidavit was being
26         scanned and sent to Defendant US Bank’s fraud services department.
27   65.   The Fraud Affidavit listed all of the US Bank Accounts.
28   ///

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 1   66.   Despite Defendant US Bank receiving the Police Report and Fraud Affidavit,
 2         Defendant US Bank continued to contact Plaintiff by telephone in attempts to
 3         collect the alleged debts owed on the US Bank Accounts.
 4   67.   Defendant US Bank contacted Plaintiff by telephone in attempts to collect the
 5         alleged debts owed on the US Bank accounts at least 80 separate times in
 6         August of 2016, 45 separate times in September of 2016, 76 separate times in
 7         October of 2016, 14 separate times in November of 2016 and once on January
 8         20, 2017.
 9   68.   On or about November 19, 2016, Plaintiff sent two letters in reference to two
10         US Bank Reserve Lines with Account Numbers ending in 6876 and 3978
11         (November 19 Letters) to Defendant US Bank’s Credit Reporting Agency
12         Management department via US Mail, certified, return receipt requested.
13   69.   Based on information and belief, Plaintiff alleges Defendant US Bank
14         received the November 19, 2016 letters on November 22, 2016.
15   70.   On or about January 9, 2017, Plaintiff sent seven letters in reference to the
16         seven US Bank Accounts ending in 2658, 8284 , 0359, 0949, 6876, 6967 and
17         5258, (January 9 Letters) to Defendant US Bank’s Credit Reporting Agency
18         Management department via US Mail, certified, return receipt requested.
19   71.   Despite receiving the November 19, 2016 Letters, Defendant US Bank again
20         contacted Plaintiff in an attempt to collect an alleged debt owed on the US
21         Bank Reserve Line with account number ending in 3978.
22   72.   On or about January 20, 2017, Defendant US Bank called Plaintiff by phone.
23   73.   During this January 20, 2017, telephone call, Defendant US Bank attempted
24         to collect the alleged debt owed on the US Bank Reserve Line with account
25         number ending in 6876.
26   74.   Further, during this January 20, 2017, telephone call, Defendant US Bank told
27         Plaintiff he must pay the alleged debt owed on the US Bank Reserve Line
28         with account number ending in 6876 or else it would be sent to collections.

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 1   75.   During this same January 20, 2017, telephone call Plaintiff told Defendant US
 2         Bank, just like he had told them countless times before, that this account was
 3         the result of identity theft and that Plaintiff was not responsible for this debt.
 4   76.   Through Plaintiff’s November 19, 2016 letter, Plaintiff provided written
 5         notice to Defendant US Bank at the address designated by the claimant for
 6         complaints related to credit reporting issues that a situation of identity theft
 7         might exist and explaining the facts, as required by Cal. Civ. Code §
 8         1798.93(b)(6)(A).
 9   77.   Through Plaintiff’s January 9, 2017 letter, Plaintiff provided written notice to
10         Defendant US Bank at the address designated by the claimant for complaints
11         related to credit reporting issues that a situation of identity theft might exist
12         and explaining the facts, as required by Cal. Civ. Code § 1798.93(b)(6)(A).
13   78.   Thereafter, Defendant US Bank failed to diligently investigate Plaintiff’s
14         notification of possible identity theft, and continued to pursue its claim
15         against Plaintiff after being presented with facts to demonstrate that the
16         alleged debt was a result of identity theft, as defined by Cal. Penal Code
17         § 530.5.
18   79.   Defendant US Bank’s continued illegal collection actions and continued
19         reporting on Plaintiff’s credit reports after failing to conduct a reasonable
20         investigation into Plaintiff’s identity theft claims violate Cal. Civ. Code §
21         1798.92 et seq.
22                  DEFENDANT US BANK’S VIOLATIONS OF THE CCCRAA
23   80.   Plaintiff repeats, re-alleges and incorporates all previous paragraphs contained
24         in this Complaint as though fully stated herein.
25   81.   Sometime during September of 2016, Plaintiff reviewed his Equifax credit
26         report dated September 9, 2016, and his most recent TransUnion credit report.
27   ///
28   ///

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 1   82.   While reviewing his Equifax Credit Report, Plaintiff discovered US Bank had
 2         furnished negative, inaccurate information regarding certain US Bank
 3         Accounts ending in 5258, 0949, 6967, and 3978 to Defendant Equifax.
 4   83.   This information is inaccurate because these US Bank Accounts ending in
 5         5258, 0949, 6967, and 3978 were fraudulent and did not belong to Plaintiff.
 6   84.   Defendant Equifax is a consumer credit reporting agency.
 7   85.   Equifax is a partnership, corporation, association, or other entity, and is
 8         therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).
 9   86.   On November 4, 2016, Plaintiff sent a dispute letter via certified US Mail to
10         Defendant Equifax disputing the negative US Bank Account information that
11         appeared on Plaintiff’s September 9, 2016, Equifax credit report.
12   87.   On or about December 6, 2016, Plaintiff received the results of Defendant
13         Equifax’s reinvestigation of the disputes contained in Plaintiff’s November 4,
14         2016 dispute letter.
15   88.   While reviewing these Equifax dispute reinvestigation results, Plaintiff
16         discovered that Defendant US Bank was still reporting that Plaintiff owed
17         money to Defendant US Bank on all of the accounts that were disputed in
18         Plaintiff’s November 4, 2016 dispute letter to Equifax.
19   89.   In December of 2016, Plaintiff reviewed his TransUnion credit report dated
20         December 5, 2016.
21   90.   While reviewing his TransUnion Credit Report, Plaintiff discovered US Bank
22         had furnished negative, inaccurate information regarding certain US Bank
23         Accounts ending in 5258, 0949, 6967, and 3978 to TransUnion.
24   91.   This information is inaccurate because these US Bank Accounts ending in
25         5258, 0949, 6967, and 3978 were fraudulent and did not belong to Plaintiff.
26   92.   TransUnion is a partnership, corporation, association, or other entity, and is
27         therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).
28   93.   TransUnion is a consumer credit reporting agency.

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 1   94.   In December of 2016, Plaintiff reviewed his Experian credit report dated
 2         December 5, 2016.
 3   95.   While reviewing his Experian Credit Report, Plaintiff discovered US Bank
 4         had furnished negative, inaccurate information regarding certain US Bank
 5         Accounts ending in 5258, 0949, 6967, and 3978 to Experian.
 6   96.   Further, on or about January 9, 2017, Plaintiff sent three letters in reference to
 7         three of the US Bank Accounts with Account Numbers ending in 0949, 6967
 8         and 5258, (January 9 Letters) to Defendant US Bank’s Credit Reporting
 9         Agency Management department via US Mail, certified, return receipt
10         requested.
11   97.   These letters stated that these three accounts were opened without Plaintiff's
12         consent.
13   98.   Further these letters stated that these three accounts were fraudulently opened.
14   99.   Lastly, these letters stated that these three accounts appear on Plaintiff’s
15         consumer credit report.
16   100. Defendant US Bank sent letters dated February 2, 2017 in response to these
17         three letters (“February 2 Letters”) stating that they will continue to furnish
18         the inaccurate, negative information regarding these three accounts ending in
19         0949, 6967 and 5258 to Plaintiff's consumer credit report.
20   101. Experian is a partnership, corporation, association, or other entity, and is
21         therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).
22   102. Experian is a consumer credit reporting agency.
23   103. This information is inaccurate because these US Bank Accounts ending in
24         5258, 0949, 6967, and 3978 were fraudulent and did not belong to Plaintiff.
25   104. Defendant US Bank violated CCCRAA § 1785.25(a) by furnishing
26         information to consumer credit reporting agencies knowing the information
27         was inaccurate.
28   ///

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 1   105. Because Defendant US Bank is a partnership, corporation, association, or
 2         other entity, and is therefore a “person” as that term is defined by Cal. Civ.
 3         Code § 1785.3(j), Defendant US Bank is and always was obligated to
 4         promptly notify the consumer credit reporting agency of the determination
 5         that the information on a specific transaction or experience so provided to a
 6         consumer credit reporting agency is not complete or accurate and provide to
 7         the consumer credit reporting agency any corrections to that information, or
 8         any additional information, that is necessary to make the information
 9         provided by the person to the consumer credit reporting agency complete and
10         accurate., as required by Cal. Civ. Code § 1785.25(b). Defendant US Bank
11         knew or should have known that Plaintiff’s US Bank Account debts were the
12         result of fraud and/or identity theft. Thus, Defendant US Bank violated Cal.
13         Civ. Code § 1785.25(b).
14   106. Moreover, 15 U.S.C. § 1681(b)(1)(f) of the Fair Credit Reporting Act (FCRA)
15         expressly exempts Cal. Civ Code § 1785.25(a) from the FCRA’s general
16         exclusion of State law claims. Thus, Plaintiff’s CCCRAA claim is not
17         preempted by the FCRA.
18          DEFENDANTS US BANK AND EQUIFAX’S VIOLATIONS OF THE FCRA
19   107. Plaintiff repeats, re-alleges, and incorporates by reference all previous
20         paragraphs contained in this Complaint as though fully stated herein.
21   108. Accordingly, Defendant US Bank failed to conduct a reasonable investigation
22         with respect to the disputed information as required by 15 U.SC. § 1681s-
23         2(b)(1)(A) by failing to remove all of the disputed and incorrect information,
24         and failing to notate, as required, Plaintiff’s dispute.
25   109. Upon information and belief, Defendant US Bank’s investigation was
26         unreasonable. More specifically, Defendant US Bank should have discovered
27         from its records, including Plaintiff’s formal dispute, that the information
28         Defendant US Bank was reporting was inaccurate and patently misleading

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 1         because it suggested that the disputed US Bank Accounts ending in 5258,
 2         0949, 6967, and 3978 belonged to, and were the responsibility of, Plaintiff.
 3   110. Defendant US Bank failed to review all relevant information provided by
 4         Plaintiff in the dispute to the Credit Bureaus, as required by and in violation
 5         of 15 U.SC. § 1681s-2(b)(1)(B).
 6   111. Due to Defendant US Bank’s failure to reasonably investigate, they further
 7         failed to correct and update Plaintiff’s information as required by 15 U.S.C. §
 8         1681s-2(b)(1)(E), thereby causing continued reporting of inaccurate
 9         information in violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).
10   112. By inaccurately reporting account information after notice and confirmation
11         of its errors, Defendant US Bank failed to take appropriate measures as
12         required by 15 U.S.C. § 1681s-2(b)(1)(D); and, (E).
13   113. Through this conduct Defendant US Bank maliciously, willfully, intentionally,
14         recklessly, and/or negligently failed to review the information provided in the
15         disputes and that was already in its files and to conduct a reasonable
16         investigation on Plaintiff’s dispute, which led as a direct result and
17         consequence to the Defendant Equifax either failing to delete information
18         found to be inaccurate, failing to replace the inaccurate information with
19         accurate information, and/or reinserting the information without following the
20         dictates of the FCRA.
21   114. Defendant Equifax is a “consumer reporting agency,” as codified at 15 U.S.C.
22         § 1681a(e).
23   115. Through this conduct, Defendant Equifax failed to delete information found
24         to be inaccurate, reinserted the information without following the FCRA, or
25         failed to properly investigate Plaintiff’s disputes.
26   116. Plaintiff alleges that at all relevant times Defendant Equifax failed to maintain
27         and failed to follow reasonable procedures to assure maximum possible
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 1         accuracy of Plaintiff’s credit reports, concerning the account in question,
 2         violating 15 U.S.C. § 1681e(b).
 3   117. Plaintiff alleges that Defendant Equifax failed to conduct a proper and lawful
 4         reinvestigation.
 5   118. All aforementioned actions taken by the Defendant Equifax were done with
 6         malice, were done willfully, and were done with either the desire to harm
 7         Plaintiff and/or with the knowledge that its actions would very likely harm
 8         Plaintiff and/or that its actions were taken in violation of the FCRA and state
 9         law and/or that it knew or should have known that its actions were in reckless
10         disregard of the FCRA and state law.
11   119. As a result of said inaccurate reporting, Plaintiff suffers, and continues to
12         suffer, actual damages, including harm to her credit-worthiness, credit history,
13         and credit scores.
14   120. Further, Plaintiff has suffered damages due to Defendants’ unwillingness to
15         acknowledge the invalidity of the alleged debts and Defendants’ relentless
16         attempts to wrongfully collect alleged debts from Plaintiff.
17                                          CAUSES OF ACTION
18                                                 COUNT I
19      ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
20                                 CAL. CIV. CODE §§ 1788-1788.32
21                                  AGAINST DEFENDANT US BANK
22   121. Plaintiff incorporates by reference all of the above paragraphs of this
23         Complaint as though fully stated herein.
24   122. The foregoing acts and omissions constitute numerous and multiple violations
25         of the Rosenthal Act, including but not limited to each and every one of the
26         above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
27   123. As a result of each and every violation of the Rosenthal Act, Plaintiff is
28         entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);

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 1         statutory damages for a knowing or willful violation in the amount up to
 2         $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
 3         fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from each and every
 4         defendant, jointly and severally.
 5                                                COUNT II
 6      CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES ACT (CCCRAA)
 7                                (CAL. CIVIL CODE § 1785 ET SEQ.)
 8                                  AGAINST DEFENDANT US BANK
 9   124. Plaintiff incorporates by reference all of the above paragraphs of this
10         Complaint as though fully stated herein.
11   125. The foregoing acts and omissions constitute numerous and multiple willful,
12         reckless or negligent violations of CCCRAA § 1785.25(a).
13   126. As a result of each and every violation of the CCCRAA, Plaintiff suffered
14         denials of credit, worry, fear, distress, frustration, damage to reputation,
15         embarrassment, humiliation, loss of economic opportunity and lost
16         opportunity to obtain credit and is entitled to any actual damages sustained,
17         statutory damages, punitive damages, and reasonable attorney’s fees and costs
18         from Defendant.
19                                                COUNT III
20                     VIOLATIONS OF CAL. CIV. CODE § 1798.92-1798.97
21                                  AGAINST DEFENDANT US BANK
22   127. Plaintiff incorporates by reference all of the above paragraphs of this
23         Complaint as though fully stated herein.
24   128. Plaintiff has proffered sufficient evidence to prove by a preponderance of
25         evidence to establish that he was a victim of identity theft.
26   129. The foregoing acts and omissions constitute numerous and multiple violations
27         of Cal. Civ. Code § 1798.92-1798.97.
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 1   130. As a result of each and every violation of Cal. Civ. Code § 1798.92-1798.97,
 2         Plaintiff is entitled to a declaration that Plaintiff is not obligated to Defendant
 3         for the Account pursuant to Cal. Civ. Code § 1798.93(c)(1), an injunction
 4         restraining Defendant from collecting on the Account Cal. Civ. Code §
 5         1798.93(c)(3), actual damages, attorney’s fees and costs and any equitable
 6         relief the court deems appropriate Cal. Civ. Code § 1798.93(c)(5), a civil
 7         penalty, in addition to other damages, in the amount of $30,000 Cal. Civ.
 8         Code § 1798.93(c)(6).
 9                                                COUNT IV
10                     VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
11                                 15 U.S.C. §§ 1681-1692X (FCRA)
12                          AS TO DEFENDANTS US BANK AND EQUIFAX
13   131. Plaintiff incorporates by reference all of the above paragraphs of this
14         Complaint as though fully stated herein.
15   132. The foregoing acts and omissions constitute numerous and multiple violations
16         of the FCRA.
17   133. As a result of each and every negligent violation of the FCRA, Plaintiff is
18         entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and
19         reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2)
20         from Defendants.
21   134. As a result of each and every willful violation of the FCRA, Plaintiff is
22         entitled to actual damages or damages of not less than $100 and not more
23         than $1,000 and such amount as the court may allowed for all other class
24         members, pursuant to 15 U.S.C. § 1681n(a)(1)(A); punitive damages as the
25         court may allow, pursuant to 15 U.S.C. § 1681n(a)(2); and reasonable
26         attorney’s fees and costs pursuant to 15 U.S.C. § 1681n(a)(3) from
27         Defendants.
28   ///

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 1                                         PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
 3   Plaintiff be awarded damages from Defendants, as follows:
 4                                                 COUNT I
 5         •      An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
 6                § 1788.30(b);
 7         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
 8                to Cal. Civ. Code § 1788.30(c).
 9                                                COUNT II
10         •      That there be Judgment in favor of Plaintiff and against Defendant for
11                all reasonable damages sustained by Plaintiff, including but not limited
12                to actual damages, compensatory damages, out-of-pocket expenses,
13                credit denials, costs and time of repairing his credit, pain and suffering,
14                embarrassment, inconvenience, lost economic opportunity, loss of
15                incidental time, frustration, emotional distress, mental anguish, fear of
16                personal and financial safety and security and for punitive/exemplary
17                damages, attorneys fees, court costs and other assessments proper by
18                law and any and all other applicable federal and state laws, together
19                with legal interest thereon from date of judicial demand until paid;
20         •      An award of actual damages, in an amount to be determined at trial,
21                pursuant to Cal. Civ. Code § 1785.31(a)(2)(A).
22         •      An award of punitive damages of $5,000.00 pursuant to Cal. Civ. Code
23                §1785.31(a)(2)(B).
24         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
25                to Cal. Civ. Code §1785.31(d).
26                                                COUNT III
27         •      A declaration that Plaintiff is not obligated to Defendant for the Account
28                pursuant to Cal. Civ. Code § 1798.93(c)(1);

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 1         •      An injunction restraining Defendant from collecting or attempting to
 2                collect from Plaintiff on the claim, from enforcing or attempting to
 3                enforce any security interest or other interest in Plaintiff’s property in
 4                connection with that claim, or from enforcing or executing on any
 5                judgment against the Plaintiff on that claim pursuant to Cal. Civ. Code §
 6                1798.93(c)(3).
 7         •      Actual damages, attorney’s fees and costs and any equitable relief the
 8                court deems appropriate Cal. Civ. Code § 1798.93(c)(5); and
 9         •      A civil penalty, in addition to any damages, of up to thirty thousand
10                dollars ($30,000) as Plaintiff has proffered sufficient evidence to
11                establish by clear and convincing evidence that:
12                  1. Plaintiff provided Defendant written notice that a situation of
13                      identity theft existed and explained the basis for that belief.
14                  2. Defendant failed to diligently investigate the Plaintiff’s notification
15                      of identity theft.
16                  3. Defendant continued to pursue their claim against Plaintiff after
17                      Defendant was presented with facts that were later held to entitle
18                      Plaintiff to a judgment pursuant to Cal. Civ. Code § 1798.93
19                                                COUNT IV
20         •      An award of actual damages in an amount to be determined at
21                trial pursuant to 15 U.S.C. § 1681o(a)(1) against Defendants for each
22                incident of negligent noncompliance of the FCRA;
23         •      An award for costs and reasonable attorney’s fess, pursuant to 15 U.S.C.
24                §1681o(a)(2), against Defendants for each incident of negligent
25                noncompliance of the FCRA;
26         •      An award of actual damages to be determined at trial, or damages of not
27                less than $100 and not more than $1,000, pursuant to 15 U.S.C.
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 1                §1681n1(a) against Defendants for each incident of willful
 2                noncompliance of the FCRA;
 3         •      An award of punitive damages as the court may allow, pursuant to 15
 4                U.S.C. §1681n(a)(2), against Defendants for each incident of willful
 5                noncompliance of the FCRA;
 6         •      An award for costs and reasonable attorney’s fess, pursuant to 15 U.S.C.
 7                §1681n(a)(3), against Defendants for each incident of willful
 8                noncompliance of the FCRA;
 9         •      Any other relief that this Court deems just and proper.
10                                            TRIAL BY JURY
11   135. Pursuant to the seventh amendment to the Constitution of the United States of
12         America, Plaintiff is entitled to, and demands, a trial by jury.
13
14   Respectfully submitted,                                    THE LAW OFFICES OF F. JAY RAHIMI
15
16   Date: April 3, 2017                                         By: s/ F. Jay Rahimi
                                                                    F. Jay Rahimi, Esq.
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                                                                    Attorneys for Plaintiff
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